859 F.2d 151Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Willie L. FARLEY, a/k/a June Bug, Defendant-Appellant.
    No. 87-7681.
    United States Court of Appeals, Fourth Circuit.
    Submitted June 30, 1988.Decided Sept. 15, 1988.
    
      Willie L. Farley, appellant pro se.
      Richard Stanley Glaser, Jr. Office of U.S. Attorney, for appellee.
      Before WIDENER, JAMES DICKSON PHILLIPS, and CHAPMAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      Willie L. Farley appeals from the district court's order refusing relief under 28 U.S.C. Sec. 2255.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  U.S. v. Farley, CA-86-1387;  CR-85-77 (S.D.W.Va. July 16, 1987).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    